                                        THE UNITED STATES BANKRUPTCY COURT
                                         FOR THE EASTERN DISTRICT OF TEXAS
                                                 SHERMAN DIVISION
  IN RE:                                                          §
                                                                  §
  JOSEPH JOHN KUBALA                                              §        CASE NO. 19-40292-R
  XXX-XX-6252                                                     §
  3505 SPRUCE STREET                                              §        CHAPTER 13
  ROYSE CITY, TX 75189                                            §
                                                                  §
  ERIN COLLEEN KUBALA                                             §
  XXX-XX-7868                                                     §
                                                                  §
  DEBTORS                                                         §


                                       MOTION TO DISMISS AND SETTING HEARING

          THE TRUSTEE REQUESTS THE COURT TO SET THIS MOTION FOR HEARING ON September 22, 2021, AT
  10:00 am AS FOLLOWS:
                    THE MOTION TO DISMISS HEARING WILL BE HELD TELEPHONICALLY.
                      PLEASE DIAL INTO THE HEARING CONFERENCE LINE: 1-888-675-2535
                             YOU WILL BE PROMPTED FOR AN ACCESS CODE: 4225607
                           WHEN PROMPTED FOR A SECURITY CODE PLEASE USE: 3633
        (A) Parties may submit exhibits by attaching the proposed exhibits to that party’s witness and exhibit list .
The proposed exhibits shall be marked in accordance with the Court’s Local Bankruptcy Rules as if they were being offered
                                                 at an in-person hearing.
          (B) Parties may present direct witness testimony by affidavit or declaration under penalty of perjury .
         COMES NOW Carey D. Ebert, Chapter 13 Trustee, and files this Motion to Dismiss and Setting Hearing in the above
  numbered and styled proceeding, and for cause would show the Honorable Court as follows:


          1. The Debtors have unreasonably delayed the case because the Debtors have failed to make Chapter 13 plan
  payments as required by 11 USC §1326(a)(1). As of August 30, 2021, the Debtors are in arrears in the amount of $2,927.50 .

           2. Failure to perform this duty constitutes an unreasonable delay by the Debtors that is prejudicial to creditors under
  11 USC §1307(c)(1) and amounts to a material default of a confirmed plan under 11 USC §1307(c)(6), and thus, cause exists for
  dismissal.

           WHEREFORE, PREMISES CONSIDERED, Carey D. Ebert, Chapter 13 Trustee, prays that this case be dismissed for
  cause.

                                                                  Respectfully submitted,

                                                                  /s/ Carey D. Ebert
                                                                  Carey D. Ebert, Chapter 13 Trustee, TBN 05332500
                                                                  Office of the Standing Chapter 13 Trustee
                                                                  500 North Central Expressway, Suite 350
                                                                  Plano, Texas 75074
                                                                  (972) 943-2580




  PLA_Motion_Dismiss (Rev 10/15/18)
                                                CERTIFICATE OF SERVICE


          This is to certify that a true and correct copy of the foregoing Motion to Dismiss and Setting Hearing has been
served upon the following parties in interest by mailing a copy of same to them via first class mail and uploaded to the Court
for service by the Bankruptcy Noticing Center to the parties on the Court's mailing matrix on the date set forth below .


JOSEPH JOHN KUBALA
ERIN COLLEEN KUBALA
3505 SPRUCE STREET
ROYSE CITY, TX 75189




THE MITCHELL LAW FIRM, L.P.
1412 MAIN STREET, SUITE 500
DALLAS, TX 75202



Dated: August 31, 2021                                         /s/ Carey D. Ebert
                                                               Office of the Standing Chapter 13 Trustee




PLA_Motion_Dismiss (Rev 10/15/18)
